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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 In Re:                                           Case No. 22-01582

 Charles N. Byrd
  aka Charles Byrd                                Chapter 13
  aka Charles Nathan Byrd, III

 Debtor.                                          Hon. Judge Donald R. Cassling

                                 CERTIFICATE OF SERVICE

The undersigned, an attorney, hereby certifies that I have served a copy of this Notice of Mortgage
Payment Change upon the above-named parties by electronic filing or, as noted below, by
placing same in a properly addressed and sealed envelope, postage prepaid, and depositing it in the
United States Mail at 394 Wards Corner Rd., Suite 180, Loveland, OH 45140 on April 15,
2022, before the hour of 5:00 p.m.

          Martin J O’Hearn, Debtor’s Counsel
          martinohearnlaw@sbcglobal.net

          Thomas H. Hooper, Trustee
          thomas.h.hooper@chicagoch13.com

          Patrick S Layng, U.S. Trustee
          ustpregion11.es.ecf@usdoj.gov

          Charles N. Byrd, Debtor
          9215 South Troy Avenue
          Evergreen Park, IL 60805

 Dated: April 15, 2022                            Respectfully Submitted,

                                                  /s/ Molly Slutsky Simons
                                                  Molly Slutsky Simons (OH 0083702)
                                                  Sottile & Barile, Attorneys at Law
                                                  394 Wards Corner Road, Suite 180
                                                  Loveland, OH 45140
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                                                  Attorney for Creditor
